
673 S.E.2d 659 (2009)
STATE of North Carolina
v.
Yul V. BANNERMAN.
No. 384P08.
Supreme Court of North Carolina.
February 5, 2009.
Carlos E. Mahoney, Durham, for Bannerman.
Gayl M. Manthei, Special Deputy Attorney General, Ben David, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 19th day of August 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
